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UNITED STATES DISTRICT COURT
F,QR,,,THE DISTRICT OF RHODE ISLAND

 

 

 

 

 

 

 

)
COOLEY, INCORPORATED )
Plaintiff, )
)
v. ) C.A. No. 17'084'JJl\/I'LDA
)
CARLISLE SYNTEC, INC., et al., )
Defendants. )
)
ORDER

This omnibus discovery order relates to the following discovery motions Hled
by each of the parties! Plaintiff s Motion to Compel Participation in Framing a
Discovery Plan (ECF No. 52); Defendant Carisle’s l\/lotion to Quash Discovery (ECF
No. 54)§ RMA Defendants’ l\/lotion to Compel Responses to Interrogatories (ECF No.
56); Rl\/lA Defendants’ l\/lotion for Entry of a Protective Order Concerning
Confidential lnformation (ECF No. 62)§ Rl\/LA Defendants’ l\/lotion for Entry of a
Protective Order Concerning Sequencing of Discovery (ECF No. 63); and Plaintiffs
l\/lotions to Compel (ECF Nos. 66, 67, 68).

1. Trial counsel for all of the parties shall meet in Rhode leland Within the
next 30 days to conduct an in'person conference at Plaintiff s counsel’s offices
pursuant to Fed. R. Civ. P. Rule 26(f) and in good faith negotiate a discovery plan
that includes any necessary amendments to the existing scheduling order and is in

compliance With this order.

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2. Defendants shall file, eXparte under seal on Cl\/l/ECF, a disclosure with

 

 

reasonable particularity of its trade secret formulas relevant to the Plaintiff’ s claims.

 

 

3. The deposition of John Greko, an employee of Defendant Carlisle
SynTec, lnc.7 shall take place at a mutually agreed date and time before the Plaintiff
is further required to disclose its trade secret(s) that is the basis of its claims in this
action.

4. Once the deposition of Mr. Greko is concluded, Plaintiff shall disclose to
the Defendants with reasonable particularity, pursuant to a protective order, the
specific nature of the trade secret formula(s) that is then subject of its claims against
the Defendants. lf at any time after Plaintiff discloses its own trade secret, it seeks
. the disclosure of the Defendants’ eX parte filing with the Court, it may file 'a motion
seeking such disclosure.

5. Other than the disclosure of trade secret information set forth above, all
discovery served or to be served shall be responded to in the usual course, in the order
they were served, pursuant to the times set forth in the Federal Rules of Civil
Procedure and no discovery is otherwise stayed.

6. Defendant Carlisle’s l\/lotion to Quash Discovery (ECF No. 54) is
DENIED. The information sought by Cooley about Carlisle’s KEE HP products is
relevant and discoverable and must be produced pursuant to a protective order.

7. Rl\/IA Defendants’ l\/lotion to Compel Responses to lnterrogatories (ECF

No. 56) is DENIED AS l\/IOOT.

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8. Rl\/lA Defendants’ Motion for Entry of a Protective Order Concerning

 

 

Confidential Information (ECF No. 62) is GRANTED lN PART AND DENIED IN
PART. The Protective Order proposed by the Plaintiff (ECF No., 70'2) shall enter.
9. Rl\/IA Defendants’ l\/lotion for Entry of a Protective Order Concerning
Sequencing of Discovery (ECF No. 63) is DENIED except as set forth above.
10. ln light of the above rulings, the Plaintiff s l\/lotions to Compel (ECF Nos.
66, 67, 68) are DENIED AS l\/lOOT.

11. Any and all other requests for relief are DENIED.

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ln summary,

a. Plaintiff s l\/lotion to Compel Participation in Framing a Discovery Plan
(ECF No. 52) is GRANTED as set forth above;

b. Defendant Carisle’s l\/lotion to Quash Discovery (ECF No., 54) is
DENIED;

c. Rl\/lA Defendants’ l\/lotion to Compel Responses to lnterrogatories (ECF
No. 56) is DENIED AS l\/IOOT;

d. Rl\/IA Defendants’ l\/lotion for Entry of a Protective Order Concerning
Confidential lnformation (ECF No. 62) is GRANTED lN PART AND DENIED lN
PART;

e. RMA Defendants’ l\/lotion for Entry of a Protective Crder Concerning
Sequencing of Discovery (ECF No. 63) is DENIED EXCEPT AS SET FORTH IN THIS
DRDER; and

f. Plaintiff s l\/lotions to Compel (ECF Nos. 66, 67, 68) are DENIED AS
MGOT.

 

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John J. l\/lcConnell, Jr.
United States District Judge

November 6, 2017

